                Case 23-10831-MFW               Doc 991        Filed 02/15/24        Page 1 of 4




                        IN THE UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF DELAWARE


    IN RE                                                       )     Chapter 11
                                                                )
    LORDSTOWN MOTORS CORP., et. al.,1                           )     Case No. 23-10831-MFW
                                                                )
                                                                )     (Jointly Administered)
                            Debtors.                            )
                                                                )

                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY, that on February 15, 2024, the Motion of the U.S. Securities and
Exchange Commission for Order Further Extending Time to Take Action, to the Extent Necessary,
to Determine the Dischargeability of a Debt to a Government Unit Pursuant to 11 U.S.C.
§1141(d)(6) [ECF No. 990] was served via email through the CM/ECF system upon the parties
registered to receive such service, and further, by email on February 15, 2024 upon the following:

         Counsel for the Debtors
         Donald J. Detweiler                 don.detweiler@wbd-us.com
         Morgan L. Patterson                 morgan.patterson@wbd-us.com
         Thomas E. Lauria                    tlauria@whitecase.com
         Matthew C. Brown                    mbrown@whitecase.com
         Fan B. He                           fhe@whitecase.com
         David M. Turetsky                   david.turetsky@whitecase.com
         Jason N. Zakia                      jzakia@whitecase.com
         Roberto Kampfner                    rkampfner@whitecase.com
         Doah Kim                            doah.kim@whitecase.com
         RJ Szuba                            rj.szuba@whitecase.com

         Counsel for Logicalis, Inc.
         Christopher A. Ward                 cward@polsinelli.com

         Counsel for Benjamin Hebert and Atri Amin, and similarly-situated stockholders
         Joseph C. Barsalona II      jbarsalona@pashmanstein.com
         Gustavo F. Bruckner         gfbruckner@pomlaw.com
         Samuel J. Adams             sjadams@pomlaw.com
         Ankita Sangwan              asangwan@pomlaw.com
         Gregory V. Varallo          greg.varallo@blbglaw.com

1
 The Debtors and the last four digits of their respective federal tax identification numbers are: Lordstown Motors
Corp. (3229); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
      Case 23-10831-MFW         Doc 991    Filed 02/15/24       Page 2 of 4




Glenn R. McGillivray         glenn.mcgillivray@blbglaw.com
Daniel Meyer                 daniel.meyer@blbglaw.com
Jeroen van Kwawegen          jeroen@blbglaw.com
Thomas G. James              Thomas.James@blbglaw.com
Margaret Sanborn-Lowing      Margaret.Lowing@blbglaw.com

Counsel for Akebono Brake Corporation
Edward M. King             tking@fbtlaw.com

Counsel for the Official Committee of Unsecured Creditors
David M. Fournier            david.fournier@troutman.com
Tori L. Remington            tori.remington@troutman.com
Francis J. Lawall            francis.lawall@troutman.com
Deborah Kovsky-Apap          deborah.kovsky@troutman.com
Sean P. McNally              sean.mcnally@troutman.com

Counsel for Cigna Health and Life Insurance Company
Jeffrey C. Wisler           jwisler@connollygallagher.com

Counsel for Harco Manufacturing Group, LLC
Evan T. Miller             emiller@bayardlaw.com

Counsel for Elaphe Propulsion Technologies Ltd.
Stephen B. Grow             sgrow@wnj.com
William A. Hazeltine        whazeltine@sha-llc.com

Counsel for Marelli North America, Inc.
A.J. Webb                   awebb@fbtlaw.com
Patricia K. Burgess         pburgess@fbtlaw.com

Counsel for GAC R&D Center Silicon Valley, Inc.
Marc N. Swanson          swansonm@millercanfield.com

Counsel for Darren Post, Steve Burns, John LaFleur and Rich Schmidt
Sean M. Beach                sbeach@ycst.com
Shane Reil                   sreil@ycst.com
                             bankfilings@ycst.com

Counsel for the Official Committee of Equity Security Holders
Robert J. Stark              rstark@brownrudnick.com
Bennett S. Silverberg        bsilverberg@brownrudnick.com
Matthew A. Sawyer            msawyer@brownrudnick.com
Eric J. Monzo                emonzo@morrisjames.com
Brya M. Keilson              bkeilson@morrisjames.com
     Case 23-10831-MFW         Doc 991     Filed 02/15/24   Page 3 of 4




Counsel for George Troicky, as Court-Appointed Lead Plaintiff
Michael S. Etkin            metkin@lowenstein.com
Andrew Behlmann             abehlmann@lowenstein.com
Scott Cargill               scargill@lowenstein.com
Christopher P. Simon        csimon@crosslaw.com

Counsel for Applied Medical Resources Corp.
Matthew P. Austria          maustria@austiallc.com
Andrew B. Still             astill@swlaw.com

Counsel for Edward Hightower and Adam Kroll
Jennifer R. Hoover        jhoover@beneschlaw.com
Steven L. Walsh           swalsh@beneschlaw.com
Bruce G. Vanyo            bruce@katten.com
Sarah Eichenberger        sarah.eichenberger@katten.com
Jonathan Rotenberg        jonathan.rotenberg@katten.com
Cindi M. Giglio           cgiglio@katten.com

Office of the United States Trustee
Benjamin A. Hackman           benjamin_a_hackman@usdoj.gov

Counsel for LAS Capital LLC
Joseph O. Larkin            joseph.larkin@skadden.com
Ron E. Meisler              ron.meisler@skadden.com
Jennifer Madden             jennifer.madden@skadden.com
Robert D. Drain             robert.drain@skadden.com

Counsel for Michigan Department of Treasury
Heather L. Donald          donaldh@michigan.gov

Counsel for Hon Hai Precision Industry Co., Ltd. and Others
Robert J. Dehney            rdehney@morrisnichols.com
Donna L. Culver             dculver@morrisnichols.com
Matthew B. Harvey           mharvey@morrisnichols.com
Matthew Talmo               mtalmo@morrisnichols.com
Daniel J. Guyder            daniel.guyder@allenovery.com
Robin Spigel                robin.spigel@allenovery.com
Bradley Pensyl              bradley.pensyl@allenovery.com
Christopher Newcomb         chris.newcomb@allenovery.com
Justin Ormand               justin.ormand@allenovery.com
Joseph Badtke-Berkow        joseph.badtke-berkow@allenovery.com
Jacob R. Herz               jacob.herz@allenovery.com
Noah Brumfield              noah.brumfield@allenovery.com
Patrick Pearsall            patrick.pearsall@allenovery.com
Michael Modesto Gale        michael.modestogale@allenovery.com
            Case 23-10831-MFW   Doc 991     Filed 02/15/24   Page 4 of 4




Dated:   February 15, 2024


                                /s/ David W. Baddley______________
                                U.S. SECURITIES & EXCHANGE COMMISSION
                                David W. Baddley
                                950 East Paces Ferry Road, N.E., Suite 900
                                Atlanta, GA 30326-1382
                                Telephone: (404) 842-7625
                                baddleyd@sec.gov

                                Counsel for U.S. Securities and Exchange Commission
